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                              IJNITED STA TES DISTRICT CO URT
                              SO UTH ERN DISTRICT OF FLOW DA

                                   Case No.18-80179-CR-COH N


    UNITEB STATES O F AM ERICA

    V.

    ANTH ON Y M ICH AEL D 'AM ICO ,

                         D efendant.
                                                 /

                               STIPULATED FACTUAL PROFFER

         Werethiscase to proceed to triak the partiesagree thatthe Governmentwould prove the
    follow ing factsY yond a reasonable doubt:

         Anthony M ichaelD'Amico CO 'AMICO'').did knowingly,and with intentto degaud,
    devise and intend to devkqe a schem e and artificeto defraud,and to obtain money and propely by

    means ofm aterially false and gaudulentprdenses,representations,and prom ises,knowing that

    the pretensessrepresentations,and prom ises were false and fraudulentwhen m ade,and,forthe

    purposeofexecuting the scheme and artitk e,did know ingly transm k and causeto l)e tansm itted,

    by meansofw ire communication in interstate cornmerce,certain writings,signs,signals,pictures

    and sounds,in violation ofTitle l8,United StatesCode,Stctions 1343 and 2.

           ètead generation''was the initiation of consumer interest or enquiry into products or

    servicesofa business. Leads came from various sourcesoractivities,forexample,digitally via

    the lnternet, through personal rcferrals, through telephone calls either by the business or

    telem arketers,through adve/isements,and events. A lead generation business was a marketing

    company thatacquired leadsforspecifk customers.
           Company lwas a Delaware corporation doing business in Broward County,Florida,and
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    elsewhere,as a lead generation business. Company 1 sold leads to its customers,which w ere

    heakh insurance and othercom panies across the country. Each lead was a callfrom a potenti
                                                                                             al

    health insurance seeker,which cam ethrough Com pany l'sproprietary computersystea Invocw

    and was then routed to one ofCompany 1's custom ers. Each callw as labeled w ith a unique

    telephone num bercorresm nding to Company 1,the Iead company which had routed the callsto
    the health insurance company. Customers generated a unique phone number to provide to

    Company l so thatCompany l's health insurance company customers knew how much to pay

    Company l forgenerating the leadsconnecting them to health instlrance seekers. Company 1's

    custom erspaid hwoicesto Company 1based on thc volum e ofleadsthatthe customersreceived
    from Company 1'slm iquetelephone number.

          D'AM ICO, a resident of Boc,a Raton, Florida, was a sales and marketing director at

    Company 1. D'AM ICO previously worked at Company 2,a lead-generation business that was

    acquked by Company l in oraround September2017,and continued on with Company laherthe

    acquisition. Forthe purposes ofthis statem ent,Company 1 includes itspredecessor in interesq

    Company 2. Atboth Com pany 1and Company 2,D 'AM ICO wasresponsible forassisting in the

    collectionsofaccountsreceivable from the custom ers he generated. D 'AM ICO lmd accessto the

    lnvoca system by virtue ofhisrole asan em ployee.

          FuelAvenue,Inc.(=FuelAvenue'')wasaFloridacorporation,pum ortingtodo businessin
    Boca Raton,Florida asa lead generation service. DepartmentofState,Division ofCom orations

    recordsshow thatD'AM ICO wasthe presidentand registered agentofFuelAvenue. D 'A M ICO

    wasalso the sole signatory on FuelAvenue'sbank accounts.

          Client l, a Delaware corporation,w as a company operating in the h0 1th instlrance


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    industry. Client l wasa custom erthatpurchased leadsfrom Company 1.

           Client2,a Florida corporation,w asa marketing company. Client2 wasacustomerthat

    purchased leadsfrom Company l.

           lnvestigation revealed tbatD 'AM ICO m ade false and fraudulentrepresentations in order

    to reroute leads,andproceedsfrom thesaleofthoseleads,from Company 1to accountsunderhis
    own control. Specitk ally.D'AM ICO used his accessto Com pany 1'slnvoca system to divert

    thouu nds of Ieads from Company l by changing the unique phone num bers associated with

    Company 1 to correspond to the unique number provided by purported clients to his recently-

    created pum oned lead generation company,FuelAvenue,including Clientl and Client2.

           D 'AM ICO then sentinvoices to those custom ers,including Client land Client 2.using,

    am ong otherthings,emails 9om FuelA venue. 'rht customersthen sent payment,via interstate

    wire,to D'AM ICO,through FuelAvenue.

           W itnessstatements,bank statem ents,businessrecords,and otherevidence gathered during

    the investigation showed thateH<alth lnstlranceServicesClel-
                                                               lealth''lwasa fictitioushealth care
    company thatD'AM ICO created in Company 1'slnvoca system . The nam e foreileakh closely

    resem bled otherrealcustomersofCompany 1.

           In particular,D 'AM ICO created an tmailaddress,and purchased a webshe domain,for a
    fictitiousperson purportedly named ûElaarry Thorpes''a suppostd employee ofeHeaIth. Business

    recordsesîablished thatthe eHealth emnilaccountfortdtaarry Thorpe''was paid forusing a credit

    card belonging to D'AM ICO - indeed,the same creditcard thatD 'AM ICO used to pay for a

    website dom ain forFuelAvenue,one ofD'AM ICO'Sothercompanies.

           ln som e cases,D 'AM ICO diverted leadsby rerouting them through ellealthya tk titious

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    customer that ht crtattd in the lnvoca system . D 'AM ICO directtd health insurance leads to

    eHea1th,and then changed thc unique phone num berassociated with those l
                                                                           eadsto correspond to

    unique num bersM sociated w ith FuelAvenue.

            D'AM ICO also created a fake contractbetween D'AM ICO - on behalfofCompany l-

    and eHealth, pup ortedly electronically signed by çllaarry Thorpe.'' The pulw se of this fake

    contrac.twasto concealthatD'AM ICO wasusing el-lealth,a fake customer,to reroute leadsaway

    from Company l,and money gcnerated from salesofthose leads,to him self

            W hen questioned by representatives from Company 1regarding why insurance company

    customers,including eHealth,Client l,and Client2,were notpaying theirinvoicesforthe leads

    from Company 1,D 'AM ICO falsely and fraudulently represented that he was working on this

    issue,and thatthecustomerswere planning to pay.

            AsaresultofD'AM ICO 'Spm icipation inthew ire fraud schem e,he and hisaccomplices

    caused fraudulenlw iretransfersto accountsunderD'AM ICO'Scontrol,as dttailed G low:

                 Septem/ r W ireintheamountof$3,000sentfrom Client1in Pennsylvania,toFuel
                  18,2017      Avenue Inc.,in Palm Beach County,in theSouthern DistrictofFlorida
        2        SeptemY r W ireintheamountof$1,000sentfrom Client1inPennsylvaniw toFuel
                  21,2017 Avenue lnc.,in Palm Beach Count ,in the Southern D istrictofFlorida
        3        October2, W ireintheamountof$3,000sentfrom Client1inPennsylvania,toFuel
                   2017        Avenue lnc.,in Palm Beach Count ,inthe Southern DistrictofFlorida
                 December W
                          F ire in the amountof$15,000 sentfrom Client l in Pennsylvania,to
                  18            uelAvenue lnc., in Palm Beach County,in the Southem D istrict of
                    ,   2017   Florida
                 D ecember     W
                               B ire in the amount of $125,000 sent from FuelAvenue Inc.,in Palm
                 26 2017       D
                                each County, in the Southem District of Florida,to TD Bank, in
                    ,
                                 elaware


            ln so doing, the Defendant transm itted or caused to be transm itted by w ire some

    comm unication in interstate comm erce to help carry outthe schem eto defraud.
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                           e.s ap ee that th- facts, which do notinclude :11 facl H own to them zare
            suY cient% prove beyond are.a nable doubthergaitwith rospectto Counts l through 5 ofthe
            lndictm ent.

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